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                            A T T O R N E Y                 A T      L A W

Via ECF Filing Only
                                                                                 USDC SDNY
                                          August 6, 2019
                                                                                 DOCUMENT
The Honorable Lorna G. Schofield                                                 ELECTRONICALLY FILED
United States District Judge                                                     DOC #:
Southern District of New York                                                    DATE FILED: 8/7/2019
500 Pearl Street
Daniel Patrick Moynihan U.S. Courthouse
New York, New York 10007

RE:       United States v. Ross William Ulbricht, No. 14 Cr. 68 (LGS) (S.D. NY)
          Response to Court’s Order and Agreed Briefing Schedule

Dear Judge Schofield:

1.        Response to Court Order

Ross William Ulbricht (“Ulbricht”), through his counsel Zachary L. Newland, submits this letter
to the Court as directed by the Court’s prior order. (See Dkt. 372) (directing counsel to file a joint
letter detailing who represents Ulbricht.).

The Court has already granted the request of attorney Paul Grant to withdraw as counsel for
Ulbricht. (Dkt. 375, 376). As instructed by the Court, the undersigned traveled to Tucson,
Arizona, to meet and confer with Ulbricht and attorney Grant.

Ulbricht conferred with the undersigned during the visit to determine who represents Ulbricht.
Attorney Grant declined to participate in the visitation with Ulbricht at the prison.

Ulbricht confirmed during the visit that he wanted to proceed with attorney Newland of Brandon
Sample PLC as his counsel.1 Ulbricht believes that there is no longer any uncertainty regarding
who is representing him in connection with his motion under 28 U.S.C. § 2255.

2.        Extension of Time and Agreed Briefing Schedule

Ulbricht also respectfully requests that the Court extend the current briefing schedule which was
recently ordered. (Dkt. 373). Ulbricht has retained new counsel who is still in the process of
obtaining Ulbricht’s client file from attorney Grant. Ulbricht’s new counsel was required to
spend considerable amounts of time to address the material uncertainty created by former
counsel’s conduct.

Ulbricht and the United States conferred regarding Ulbricht’s plan to request additional time
from the Court. As a result of these efforts, the parties were able to reach a proposed new
briefing schedule by agreement. The parties propose the following schedule:

1
 Attorney Grant indicated unequivocally that he did not intend to participate in this joint
submission.
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             •    December 16, 2019: Deadline for Ulbricht to submit his new 28 U.S.C. § 2255 motion
                  with supporting memorandum of law;2

             •    March 2, 2020: Deadline for any response from the United States; and

             •    April 2, 2020: Deadline for any reply from Ulbricht.

        Both Ulbricht and the United States respectfully ask the Court to adopt this proposed agreed
        briefing schedule. The parties believe that this proposed schedule is appropriate and would
        ensure that justice is served.

        The Court’s consideration of the requested amended briefing schedule in this matter is greatly
        appreciated.3

                                                              Respectfully submitted,


                                                              /s/ Zachary L. Newland
                                                              Zachary L. Newland
                                                              Email: zach@brandonsample.com
                                                              Phone: 802-444-4357
                                                              Texas Bar: 24088967

                                                              Attorney for Ross William Ulbricht


                                                                          Petitioner shall file his motion by October 10, 2019.
                                                                          The Government shall file its response by December
                                                                          10, 2019. Petitioner shall file his reply, if any, by
                                                                          January 10, 2020. SO ORDERED.

        Encl. (0x)
        ZLN/
                                                                          Date: August 7, 2019
        cc:        All counsel of record, via ECF notification
                   Mr. Ross William Ulbricht, via U.S. Mail only
                                                                               New York, New York
                   File




        2
          Both sides also agreed that any filings would comply with the page limitations set forth in the
        Court’s most recent order: a) 25 pages for Ulbricht’s memo of law and the Government’s
        response, and b) 10 pages for Ulbricht’s reply. (Dkt. 373).
        3
         Attorney Newland also respectfully requests the Court grant his motion for leave to appear pro
        hac vice, (Dkt. 366), which remains pending.
